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UNITED sTATES DISTRICT CoURT '”Y~---~..o.c_

WESTERN DISTRICT OF TENNESSEE 05
Eastern Division JU~ 7 PH 3‘

 

UNITED sTATES oF AMERICA W D. @;: m wlst CT.
-v- Case No. 1:04cr10103-001T
DAVID BONDS

ORDER SETTING

COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Ofiice, Probation Office, defense counsel

and the U.S. Attomey in writing of any change in address and telephone number.
(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom Courtroom # on Day, Date, at Tirne.

ADD|TlONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Finaucial Conditions

0 execute a bond in the amount of $5000 or an agreement to forfeit upon failure to appear as required, and post
with the following amount of money to be deposited into the registry of the Court: $500.

c report as directed by the Pretrial Scrvices Office.

0 abide by the following restrictions on personal association, place ofabode, or travel: Defendant is restricted
in residence and travel to the Western District of Tennessee.

0 refrain from possessing a tirearrn, destructive device, or other dangerous weapon.
o refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §

802, unless with prior written approval of the Pretrial Services Officer or as may be lawfully prescribed in
writing by a licensed medical practitioner.

This document entered on the docket sheet in compliance
AO 199A Order Setting Conditions of Release '1' wm' nine 55 andlnr 32 (b) FHC'P on

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0 maintain or actively seek employment

0 submit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance. Such methods may be used with random
frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing.

0 participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretrial Services and pay a percentage of the fee as determined by Pretrial Services.

ADVICE OF PENALTIES AND SANCT|ONS
T0 THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCTlONS:

A violation of any of the foregoing conditions of release may result in the inunediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of` imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony', or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

lt` after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposedl It` you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. ln addition, a failure to appear may result in the forfeiture of any bond posted.

Ao 1ssA order setting conditions ar Release -2-

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AcKNoWLEDGMENT oF oeFEr§ionisit-" n

l acknowledge that I am the defendant in this case and that I am aware of the conditions of release. l promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware

of the penalties and sanctions set forth above.
l '.

 

Sig`r'iature of Defendant
David Bonds
6 Camelot Cv.

Jackson, TN 38305
731-298-4887

DlRECT|ONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released afier processing

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Ofticer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in

custody.

,_,____
Date: June 7, 2005 g /&M/h @

S. THOMAS ANDERSON
UNITED STATES MAGIS'I`RATE JUDGE

Ul:|

AO 199A Order Setting Conditicns cf Re|ease -3-

     

  
 

UNITED sTATE DISTRIC COUR - WESTER D"T'CT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case l:04-CR-10103 was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
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.lacl<son7 TN 38301

.l ames W. Powell

U.S. ATTORNEY'S OFFICE
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Honorable .l ames Todd
US DISTRICT COURT

